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                                                                     ^ SEP 2It 20W              *
  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK                                        BROOKLYN OFFICE
  BRIAN FISCHLER, individually and as the            Case No. l:19-cv-02522-ILG-ST
  representative of a class of similarly situated
  persons.
                                                     STIPULATION OF DISMISSAL
                  Plaintiff,



  WINC, INC.,

                 Defendant,


          IT IS HEREBY STIPULATED AND AGREED by and between the parties and their

 respective counsel, that the above-entitled action against Defendant, shall be and hereby is
 dismissed with prejudice and without costs, or disbursements, or attorneys' fees to any party,
 pursuant to Rule 41(a) of tbe Federal Rules of Civil Procedure.

 Dated: September 20, 2019

  For the Plaintiff:                                   For the Defendant



  By:                                                 By:
        Douglas B. Lipsky, Esq.                             Sean J. Kii
        Lipsky Lowe LLP                                     Sheppard MullirrfCichter & Hampton LLP
        420 Lexington Avenue, Suite 1830                    30 Rockefeller PlaTia, 39"' Floor
        New York, New York 10170-1830                       New York, NY 10112



  SO ORDERED


   s/I. Leo Glasser, USDJ
                               U.S.D.J.
                        V M
